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     United States of America
 6

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 8                                  IN THE UNITED STATES DISTRICT COURT
 9                                    EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                          CASE NO. 2:11-CR-076-LKK
12                     Plaintiff,                       STIPULATION AND ORDER CONTINUING
                                                        DEFENDANT VICTOR GONZALEZ'S
13                          v.                          SENTENCING
14   VICTOR GONZALEZ,
15                      Defendants.                     Court: Hon. Lawrence K. Karlton
16

17          Plaintiff United States of America and defendant Victor Gonzalez, through their respective
18   counsel, stipulate and agree to continue the sentencing hearing in this case from March 25, 2014, at 9:15
19   a.m., to October 21, 2014, at 9:15 a.m. This request for a continuance is made on the grounds that there
20   are issues related to sentencing that remain unresolved and which constitute good cause to change the
21   time limits for sentencing within the meaning of F.R.Crim.P. 32(b)(2). Specifically, the parties need
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              Case 2:11-cr-00076-JAM Document 150 Filed 03/26/14 Page 2 of 2



 1   additional time to determine whether there are grounds for a departure from the applicable sentencing

 2   guideline range.

 3          Dated: March 24, 2014                          /s/ Dwight Samuel
                                                   By:
 4                                                         DWIGHT SAMUEL
                                                           Attorney for defendant
 5
                                                           VICTOR GONZALEZ
 6

 7          Dated: March 24, 2014                          BENJAMIN B. WAGNER
                                                           United States Attorney
 8
                                                           /s/ Samuel Wong
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10                                                 By:
                                                           SAMUEL WONG
11                                                         Assistant U.S. Attorney
12                                  _____________________________
13

14                                                 ORDER
15

16          Pursuant to stipulation of the parties and good cause appearing therefrom, IT IS HEREBY
17   ORDERED, pursuant to F.R.Crim.P. 32(b)(2), that the sentencing hearing in this case for defendant
18   Victor Gonzalez shall be continued from March 25, 2014, at 9:15 a.m., to October 21, 2014, at 9:15 a.m.
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20   Dated: March 24, 2014
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